     Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 1 of 34



                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              SOUTHERN DIVISION

 STATE OF MISSISSIPPI, et al.
                                          Plaintiffs,
                                                        No. 1:22-cv-113-HSO-RPM
           v.

 XAVIER BECERRA, et al.,
                                        Defendants.

                  PLAINTIFFS’ COMBINED REPLY IN SUPPORT OF
               MOTION FOR SUMMARY JUDGMENT AND OPPOSITION
            TO DEFENDANTS’ CROSS-MOTION FOR SUMMARY JUDGMENT*




       *
        The States have 35 pages to respond to Defendants’ cross-motion for summary judgment
and 20 pages for their rebuttal in support of their motion for summary judgment. See Loc. R. 7(b)(5).
With Defendants’ consent, the States file this 26-page consolidated reply and opposition.
        Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 2 of 34



                                                            TABLE OF CONTENTS
Table of Authorities .......................................................................................................................................... iii
Introduction & Summary of Argument .......................................................................................................... 1
Argument ............................................................................................................................................................. 2
      I. The States are entitled to summary judgment on standing. ........................................................... 2
            A. The States are entitled to special solicitude................................................................................ 2
            B. The States have concrete injuries. ............................................................................................... 3
            C. Anti-racism plans encourage clinicians to prioritize patients based on race in
               violation of the States’ laws. ......................................................................................................... 7
            D. The States satisfy the traceability and redressability standing requirements. ........................ 9
            E. Defendants’ arguments about standing fail. ............................................................................ 11
      II. Plaintiffs are entitled to summary judgment on the merits. ......................................................... 16
            A. The judicial review bar does not stop this Court from reaching the merits. ...................... 16
            B. Judicial review is limited to the administrative record. .......................................................... 17
            C. Anti-racism plans are not one of the clinical practice improvement activities specified
               in the statute.................................................................................................................................. 18
            D. The States weren’t obliged to raise their objections during the notice-and-comment
               period. ............................................................................................................................................ 24
            E. Vacatur of the Anti-Racism Rule is the appropriate remedy. ............................................... 25
Conclusion ......................................................................................................................................................... 26




                                                                                   ii
      Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 3 of 34



                                                    TABLE OF AUTHORITIES

Cases
Alfred L. Snapp. & Son, Inc. v. P.R., ex rel. Barez,
   458 U.S. 592 (1982) ...................................................................................................................... 3, 6, 11, 12
All. for Hippocratic Med. v. U.S. Food & Drug Admin.,
   2023 WL 5266026(5th Cir. Aug. 16) ........................................................................................................... 6
Am. Forest & Paper Ass’n v. EPA,
   137 F.3d 291 (5th Cir. 1998) ...................................................................................................................... 25
Baker v. Bell,
   630 F.2d 1046 (5th Cir. 1980) .................................................................................................................... 18
BCCA Appeal Grp. v. EPA,
   355 F.3d 817 (5th Cir. 2003) ...................................................................................................................... 25
Biden v. Nebraska,
   143 S. Ct. 2355 (2023) ............................................................................................................................ 1, 23
Cargill v. Garland,
   57 F.4th 447 (5th Cir. 2023) ................................................................................................................ 20, 24
Cent. & S. W. Servs., Inc. v. EPA,
   220 F.3d 683 (5th Cir. 2000) ...................................................................................................................... 26
Colville v. Becerra,
   2023 WL 2668513 (S.D. Miss. Mar. 28) ........................................................................................... passim
Compassionate Care Hospice v. Sebelius,
   2010 WL 2326216 (W.D. Okla. June 7) ................................................................................................... 14
Data Mktg. P’ship, LP v. U.S. Dep’t of Lab.,
   45 F.4th 846 (5th Cir. 2022) ............................................................................................................ 2, 25, 26
Dep’t of Com. v. New York,
   139 S. Ct. 2551 (2019) .......................................................................................................................... 10, 15
Devs. Sur. & Indem. Co. v. Driftwood Dev., LP,
   2008 WL 4838606 (W.D. Tex. Nov. 5) .................................................................................................... 14
Franciscan All., Inc. v. Azar,
   414 F. Supp. 3d 928 (N.D. Tex. 2019) ..................................................................................................... 26
Franciscan All., Inc. v. Becerra,
   47 F.4th 368 (5th Cir. 2022) ....................................................................................................................... 25
Gonzales v. Carhart,


                                                                            iii
       Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 4 of 34



   550 U.S. 124 (2007) ....................................................................................................................................... 4
Haaland v. Brackeen,
   143 S. Ct. 1609 (2023) .................................................................................................................... 11, 12, 13
Harrison v. Jefferson Par. Sch. Bd.,
   2023 WL 5359049 (5th Cir.) .................................................................................................................. 1, 13
Kentucky v. Biden,
   23 F.4th 585 (6th Cir. 2022) ............................................................................................................... passim
Louisiana v. Becerra,
   577 F. Supp. 3d 483 (W.D. La. 2022) ........................................................................................ 5, 6, 10, 11
Mallory v. Norfolk S. Ry. Co.,
   143 S. Ct. 2028 (2023) .......................................................................................................................... 14, 16
Martinez v. Bally’s La., Inc.,
   244 F.3d 474 (5th Cir. 2001) ...................................................................................................................... 14
Massachusetts v. EPA,
   549 U.S. 497 (2007) ............................................................................................................................ 1, 2, 13
Mexican Gulf Fishing Co. v. U.S. Dep’t of Com.,
   60 F.4th 956 (5th Cir. 2023) ....................................................................................................................... 22
Michigan v. EPA,
   576 U.S. 743 (2015) ..................................................................................................................................... 17
Missouri v. Biden,
   2023 WL 4335270 (W.D. La. July 4) .................................................................................................. 13, 16
Nebraska v. Wyoming,
   515 U.S. 1 (1995) .......................................................................................................................................... 14
Norwegian Cruise Line Holdings Ltd. v. State Surgeon Gen.,
   50 F.4th 1126 (11th Cir. 2022) ..................................................................................................................... 4
SEC v. Chenery Corp.,
   318 U.S. 80 (1943)........................................................................................................................................ 17
SFFA v. Harvard,
   143 S. Ct. 2141 (2023) ........................................................................................................................ 1, 9, 23
Sierra Club v. Pruitt,
   293 F. Supp. 3d 1050 (N.D. Cal. 2018) .................................................................................................... 25
Susan B. Anthony List v. Driehaus,
   573 U.S. 149 (2014) ....................................................................................................................................... 2


                                                                               iv
        Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 5 of 34



Sw. Elec. Power Co. v. U.S. Env’t Prot. Agency,
    920 F.3d 999 (5th Cir. 2019) ...................................................................................................................... 24
Tennessee v. U.S. Dep’t of Educ.,
    615 F. Supp. 3d 807 (E.D. Tenn. 2022) ..................................................................................................... 4
Texas v. Becerra,
    575 F. Supp. 3d 701 (N.D. Tex. 2021) ..................................................................................................... 23
Texas v. Becerra,
    623 F. Supp. 3d 696 (N.D. Tex. 2022) ................................................................................................ 5, 10
Texas v. Biden,
    20 F.4th 928 (5th Cir. 2021) ......................................................................................................2, 17, 25, 26
Texas v. Biden,
    2021 WL 4552547 (N.D. Tex. July 19) ..................................................................................................... 18
Texas v. DHS,
    2023 WL 2842760 (S.D. Tex. Apr. 7) ....................................................................................................... 17
Texas v. EEOC,
    933 F.3d 433 (5th Cir. 2019) ........................................................................................................................ 5
Texas v. United States,
    50 F.4th 498 (5th Cir. 2022) ......................................................................................................................... 2
Texas v. United States,
    809 F.3d 134 (5th Cir. 2015) ................................................................................................................. 3, 10
TransUnion LLC v. Ramirez,
    141 S. Ct. 2190 (2021) ................................................................................................................................... 7
United States v. Texas,
    143 S. Ct. 1964 (2023) .......................................................................................................................... 16, 26
United Steel v. Mine Safety & Health Admin,
    925 F.3d 1279 (D.C. Cir. 2019).................................................................................................................. 25
Voices for Int’l Bus. & Educ., Inc. v. NLRB,
    905 F.3d 770 (5th Cir. 2018) ........................................................................................................................ 7
West Virginia v. EPA,
    142 S. Ct. 2587 (2022) ............................................................................................................................ 1, 23

Statutes
42 U.S.C. §1395w-4 .................................................................................................................................. passim
5 U.S.C. §706 ........................................................................................................................................ 17, 18, 25


                                                                               v
        Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 6 of 34



5 U.S.C.§704 ...................................................................................................................................................... 17
Ark. Code Ann. §16-123-102 ............................................................................................................................ 7
Ark. Code Ann. §16-123-107 ............................................................................................................................ 8
Ky. Rev. Stat. §344.120 ...................................................................................................................................... 8
Ky. Rev. Stat. Ann. §344.130 ............................................................................................................................ 7
Ky. Rev. Stat. Ann. §344.140 ............................................................................................................................ 9
Ky. Rev. Stat. Ann. §344.145 ............................................................................................................................ 7
La. Stat. Ann. § 51:2232 .................................................................................................................................7, 9
La. Stat. Ann. §51:2247 ...................................................................................................................................... 8
Mo. Ann. Stat. §213.010 .................................................................................................................................... 7
Mo. Ann. Stat. §213.065 .................................................................................................................................... 8
Mont. Code Ann. §49-1-102 ............................................................................................................................. 8
Mont. Code Ann. §49-2-101 ............................................................................................................................. 7
Mont. Code Ann. §49-2-304 .........................................................................................................................8, 9
Mont. Code Ann. §49-2-601 ............................................................................................................................. 8

Other Authorities
Prioritize, New Oxford American Dictionary (3d ed. 2010) ......................................................................... 9

Rules
Fed. R. Civ. P. 56(d) ........................................................................................................................................... 6

Treatises
Scalia & Garner, Reading Law 167 (2012) ...................................................................................................... 20

Regulations
86 Fed. Reg. at 65969 ....................................................................................................................................... 19




                                                                                 vi
     Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 7 of 34



                     INTRODUCTION & SUMMARY OF ARGUMENT
        Despite their many pages of briefing, Defendants cannot deny one crucial fact: the Anti-Rac-

ism Rule expressly tells doctors to prioritize patients based on race. That kind of express race-based

government action is forbidden by the Constitution, see SFFA v. Harvard, 143 S. Ct. 2141, 2161-62

(2023), and by state antidiscrimination laws, see infra 7-9. Yet Defendants claim that, by enacting a

statute about activities that promote clinical practice or care delivery for patients, 42 U.S.C. §1395w-

4(q)(2)(c)(v)(III), Congress gave them the extraordinary power to encourage doctors to consider race,

Def.-Br. 12-21. “Congress does not ‘hide elephants in mouseholes.’” Biden v. Nebraska, 143 S. Ct. 2355,

2382 (2023) (Barrett, J., concurring). And agencies cannot pretend to find them there. See West Virginia

v. EPA, 142 S. Ct. 2587, 2622 (2022). This Court should hold that Defendants’ racial-prioritization

plans are not clinical practice improvement activities within the meaning of the statute.

        This Court should also reject Defendants’ attempts to evade judicial review. “States are not

normal litigants for the purposes of invoking federal jurisdiction.” Massachusetts v. EPA, 549 U.S. 497,

518 (2007). As this Court held before, the States “are ‘entitled to special solicitude in [the] standing

analysis.’” Colville v. Becerra, 2023 WL 2668513, at *14 (S.D. Miss. Mar. 28) (quoting Massachusetts, 549

U.S. at 518-20). The Anti-Racism Rule injures the States’ sovereign and quasi-sovereign interests in

several ways. Encouraging the prioritization of patients based on race interferes with the States’ anti-

discrimination laws. It intrudes upon an area the States have traditionally regulated—public health.

And it will result in discrimination against residents despite the States’ interest in their health and

wellbeing. Those injuries are concrete. See Kentucky v. Biden, 23 F.4th 585, 598-99 (6th Cir. 2022); Har-

rison v. Jefferson Par. Sch. Bd., 2023 WL 5359049, at *2-3 (5th Cir.). And they’re traceable to the Anti-

Racism Rule and redressable by vacatur. Colville, 2023 WL 2668513, at *15-18. Because the Anti-Rac-

ism Rule is unlawful and exceeds Defendants’ authority, this Court should grant the States’ motion

for summary judgment, deny Defendants’ cross-motion, and vacate the Rule.



                                                   1
     Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 8 of 34



                                              ARGUMENT
I.      The States are entitled to summary judgment on standing.
        The States have standing. “To establish Article III standing, a plaintiff must show (1) an injury

in fact, (2) a sufficient causal connection between the injury and the conduct complained of, and (3) a

likelihood that the injury will be redressed by a favorable decision.” Susan B. Anthony List v. Driehaus,

573 U.S. 149, 157-58 (2014) (cleaned up). The States can establish each element here.

        A.      The States are entitled to special solicitude.
         “‘States are not normal litigants for the purposes of invoking federal jurisdiction,’ and, under

certain circumstances, are ‘entitled to special solicitude in [the] standing analysis.’” Colville, 2023 WL

2668513, at *14 (quoting Massachusetts, 549 U.S. at 518-20). “‘Special solicitude has two requirements:

(1) the State must have a procedural right to challenge the action in question, and (2) the challenged

action must affect one of the State’s quasi-sovereign interests.’” Id. (quoting Texas v. United States, 50

F.4th 498, 514 (5th Cir. 2022)). As this Court found, a “procedural right under the APA satisfies the

first requirement,” and “the State Plaintiffs have asserted” such a right here. Id.; see also Texas v. Biden,

20 F.4th 928, 969 (5th Cir. 2021) (“the first prong was satisfied because a State challenged an agency

action as invalid under a statute”), rev’d on other grounds 142 S. Ct. 2528 (2022).1 And the second require-

ment is satisfied because States “possess a sovereign interest in ‘the exercise of sovereign power over

individuals and entities within the relevant jurisdiction,’ which ‘involves the power to create and en-

force a legal code, both civil and criminal.’” Id. at *15. As explained more fully below, the States have

proven that “the Anti-Racism Rule will harm their sovereign interests because it interferes with their

enforcement of their laws prohibiting racial discrimination,” id., and that it will harm their quasi-sov-

ereign interests because it causes discrimination against residents, infra 7-9.



        1
          The “panel’s understanding of … Article III standing” and of other issues not decided by
the Supreme Court “remains binding.” Data Mktg. P’ship, LP v. U.S. Dep’t of Lab., 45 F.4th 846, 856
n.2 (5th Cir. 2022).


                                                     2
     Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 9 of 34




        Because the States enjoy special solicitude, they “can establish standing without meeting all

the normal standards for redressability and immediacy.” Colville, 2023 WL 2668513, at *15 (cleaned

up); see id. at *16 (“the State Plaintiffs’ entitlement to special solicitude allows for the risk of future

harm to satisfy standing where it might not for an individual, and therefore alleviates immediacy con-

cerns”). “Redressability under special solicitude is satisfied when there is some possibility that the

requested relief will reduce the harm.” Id. at *15. And a “State entitled to special solicitude can satisfy

traceability by showing that the challenged action ‘has contributed to an injury,’ and it need not demon-

strate that the action was the sole cause.” Id. at *15.

        B.      The States have concrete injuries.
        At least two broad types of injuries establish the States’ standing. First, the Anti-Racism Rule

causes a concrete injury to their sovereign interest in “the exercise of sovereign power over individuals

and entities within the” States, which “involves the power to create and enforce a legal code, both

civil and criminal.” Alfred L. Snapp. & Son, Inc. v. P.R., ex rel. Barez, 458 U.S. 592, 601 (1982). Second,

“states also have a recognized quasi-sovereign interest in the health and ‘economic well-being’ of their

populaces,” which the Rule likewise injures. Kentucky, 23 F.4th at 599.

        As for their sovereign interests, the Anti-Racism Rule injures the States’ sovereign power to

create and enforce their legal codes. States can suffer injuries to this interest in at least three ways: (1)

“federal assertions of authority to regulate matters [the States] believe they control”; (2) “federal

preemption of state law”; and (3) “federal interference with the enforcement of state law.” Texas v.

United States, 809 F.3d 134, 153 (5th Cir. 2015) (cleaned up). All three exist here.

        1. Defendants assert authority over health care, which is traditionally an area of local concern.

States “have sovereign interests to sue when they believe that the federal government has intruded

upon areas traditionally within states’ control.” Kentucky, 23 F.4th at 598 (citing Texas, 809 F.3d at 153).




                                                     3
    Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 10 of 34




“‘The States traditionally have had great latitude under their police powers to legislate as to the pro-

tection of the lives, limbs, health, comfort, and quiet of all persons’—latitude that includes regulating

economic relationships.” Norwegian Cruise Line Holdings Ltd. v. State Surgeon Gen., 50 F.4th 1126, 1142

(11th Cir. 2022). “The regulation of health and safety matters is primarily, and historically, a matter of

local concern.” Id. (cleaned up); see also Gonzales v. Carhart, 550 U.S. 124, 157 (2007) (“it is clear the

State has a significant role to play in regulating the medical profession”). These traditional interests

extend to protecting residents from discrimination in health care. E.g., Norwegian, 50 F.4th at 1142-43.

Defendants have therefore “intruded upon an area traditionally left to the states—the regulation of

the public health of state citizens in general,” Kentucky, 23 F.4th at 599—with an unlawful regulation

that encourages clinicians to racially discriminate, infra 7-9, 14-15. That unlawful interposition narrows

the States’ discretion in health and deters them from exercising their historic discretion in that area—

they must either enforce their laws against residents for doing what the federal government tells them

to do, or else not enforce their laws so that their clinicians don’t suffer a competitive disadvantage. See

Colville, 2023 WL 2668513, at *16-17. Accordingly, the States “have shown that they have sovereign

interests and traditional prerogatives in regulating public health … and that the [Anti-Racism Rule]

invades these prerogatives.”2 Kentucky, 23 F.4th at 602.

        2. The States’ laws “plausibl[y]” or “arguably” conflict with Defendants’ Rule, Tennessee v. U.S.

Dep’t of Educ., 615 F. Supp. 3d 807, 821-22 (E.D. Tenn. 2022): They forbid precisely what the Rule

allows or requires, infra 7-9; MSJ-Br.13-14. The Anti-Racism Rule directs clinicians to prioritize pa-

tients based on race or ethnicity. See infra 8-9; MSJ-Br.13-14. Deploying the kinds of anti-racism plans




        2
            The States, of course, extensively exercise their traditional control over the field of health, see
generally, e.g., Miss. Code Ann. Title 41 (public health), and the States’ role in that field has long been
recognized, e.g., State v. J.J. Newman Lumber Co., 59 So. 923, 926-27 (Miss. 1912).


                                                      4
    Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 11 of 34




that the Rule contemplates is therefore against several state laws that prohibit racial discrimination. See

infra 7-9; MSJ-Br.13-14.

        3. Relatedly, the Anti-Racism Rule interferes with the enforcement of several state laws. As

this Court has explained, if “the Anti-Racism Rule encourages professionals to alter their clinical guide-

lines in a way that would violate their laws,” then that “qualifies as sufficient interference with the

States’ laws.” Colville, 2023 WL 2668513, at *17 (citing Texas v. Becerra, 623 F. Supp. 3d 696, 714 (N.D.

Tex. 2022)); accord id. at *16 (“Whether or not a given professional confronts the financial harm, the

possibility of it occurring discourages the States’ enforcement of their laws and pressures them to con-

strue their laws as permitting the race-based decisionmaking in patient care they claim that the anti-

racism plans effectively require.” (emphasis added)). At the summary-judgment stage, the States have

proven that the Anti-Racism Rule not only encourages, but directs, clinicians to prioritize patients based

on race in violation of state law. See infra 7-9; MSJ-Br.13-14. The Rule therefore forces a choice upon

the States: enforce state laws against residents who are violating them because of the Rule, or choose

not to enforce them (or construe them narrowly) to protect resident clinicians from competitive dis-

advantage. See Colville, 2023 WL 2668513, at *16-17. Either horn of that dilemma is enough to establish

a concrete injury. See id.; Becerra, 623 F. Supp. 3d at 714 (“Here, the Guidance interferes with Texas’s

enforcement of its laws because it encourages its hospitals and doctors to violate Texas … laws.”);

Texas v. EEOC, 933 F.3d 433, 447 (5th Cir. 2019) (“The Guidance consequently encourages employ-

ers, to avoid liability, to deviate from state law when it conflicts with the Guidance.”).

        Independently, “states also have a recognized quasi-sovereign interest in the health and ‘eco-

nomic well-being’ of their populaces,” Kentucky, 23 F.4th at 599, and “in having [their] citizens not

discriminated against,” Louisiana v. Becerra, 577 F. Supp. 3d 483, 492 (W.D. La. 2022). “One helpful

indication in determining whether an alleged injury to the health and welfare of its citizens suffices to

give the State standing to sue as parens patriae is whether the injury is one that the State, if it could,



                                                    5
    Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 12 of 34




would likely attempt to address through its sovereign lawmaking powers.” Snapp, 458 U.S. at 607.

Explained below, States do address the issue here: discrimination in public accommodations. See infra

7-9. And the Anti-Racism Rule encourages clinicians within the States to prioritize patients based on

race. See infra 14-15. That dynamic injures the “state interest in securing residents from the harmful

effects of discrimination,” an interest that is “peculiarly strong” when “invidious discrimination

…along ethnic lines” is involved. Snapp, 458 U.S. at 609. The strength of that interest, moreover,

sustains standing even if a “small number of individuals [are] directly involved.” See id. at 599, 609.

                                                 *
        In sum, the Anti-Racism Rule “implicates states’ power to make and enforce policies and reg-

ulations, as well as states’ traditional prerogative to superintend their citizens’ health and safety.” Ken-

tucky, 23 F.4th at 599. Moreover, the Anti-Racism Rule risks racial discrimination against patients in

the States, implicating the States’ traditional quasi-sovereign interests, Louisiana, 577 F. Supp. 3d at

492. Those injuries to the States’ sovereign and quasi-sovereign interests are imminent, see infra 7-11:

they are based on the “‘predictable’” choices of clinicians who will “‘will likely act’” in precisely the

ways Defendants’ encourage and incentivize. All. for Hippocratic Med. v. U.S. Food & Drug Admin., 2023

WL 5266026, at *12 (5th Cir. Aug. 16). And as Defendants themselves concede, clinicians are using

anti-racism plans under the Anti-Racism Rule. Answer (Doc. 59) ¶54.3




        3
          The States moved for summary judgment, prior to any discovery, because they can prove
standing based on, for example, a predictable risk of harm. See Colville, 2023 WL 2668513, at *17. But
if this Court thinks that the States need to submit evidence that clinicians in the States are employing
anti-racism plans (beyond the predictability of that fact), Defendants still aren’t entitled to summary
judgment. That evidence is within Defendants’ control; they easily could have said in their cross-
motion that there are no such clinicians in the Plaintiff States, if that (facially implausible) fact were
true. Defendants put on evidence against standing at the motion-to-dismiss stage, after all. See Def.
MTD Attach. (Doc. 47-1). Thus, even if this Court denies the States’ pre-discovery motion for sum-
mary judgment, it should not rule on Defendants’ cross-motion until after the States are given a chance
to discover the facts that this Court says are necessary to establish standing. See Fed. R. Civ. P. 56(d);
Def.-Br. 10 n.4.


                                                     6
    Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 13 of 34



        C.      Anti-racism plans encourage clinicians to prioritize patients based on race in
                violation of the States’ laws.
        Defendants nowhere contest that the States’ antidiscrimination laws forbid prioritizing pa-

tients based on race. See MSJ-Br.14 & n.2; Def.-Br.8-12. They have therefore “forfeited” any “new

argument” in reply that there is no tension between anti-racism plans and the States’ antidiscrimination

laws. See TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2210 n.6 (2021) (party forfeited standing argu-

ment). A new argument “in a reply brief” would come too late. Accident Ins. Co. v. Dennis Collier Constr.,

LLC, 2021 WL 329898, at *4 n.3 (S.D. Miss.).

        For their part, amici remarkably suggest that “individual physicians” can racially discriminate

consistent with state law, and that the state laws reach only “facilities like hotels, restaurants, gas sta-

tions, bathrooms, and recreational areas.” NAACP-Br. (Doc. 96) at 14.4 But the States define public

accommodations broadly to include all facilities that provide services to the public, or that are sup-

ported directly or indirectly by state funds.5 Some statutes expressly identify hospitals, proving that

medical services are not exempt.6 Others make it a criminal offense for persons, broadly, to unlawfully




        4
            This Court should not consider any arguments amici make that Defendants did not. See Voices
for Int’l Bus. & Educ., Inc. v. NLRB, 905 F.3d 770, 776 n.6 (5th Cir. 2018) (“[W]e do not consider
arguments raised by an amicus that the party it is supporting never made.”).
          5
            See Ky. Rev. Stat. Ann. §344.130 (“includes any place … licensed or unlicensed, which sup-
plies goods or services to the general public … or which is supported directly or indirectly by govern-
ment funds”); Ark. Code Ann. §16-123-102(7) (“any place … licensed or unlicensed, that supplies
accommodations, goods, or services to the general public … or that is supported directly or indirectly
by government funds”); Mont. Code Ann. §49-2-101(20)(a) (“a place that … offers its services, goods,
or facilities to the general public”); La. Stat. Ann. § 51:2232(10) (“any place … or other establishment,
either licensed or unlicensed, which supplies goods or services to the general public … or which is
supported directly or indirectly by government funds”); Mo. Ann. Stat. §213.010(16) (“all places or
businesses offering or holding out to the general public, goods, services, privileges, facilities, ad-
vantages or accommodations for the peace, comfort, health, welfare and safety of the general public”).
        6
         E.g., Mont. Code Ann. §49-2-101(20)(a) (“includes without limitation a … hospital and all
other … business establishments”). Other statutes make express exceptions for “[h]ospitals” and
“nursing homes” to make clear that the prohibition of discrimination doesn’t apply to bathrooms,
proving that “facility” otherwise applies to medical facilities. Ky. Rev. Stat. Ann. §344.145(2)(d).


                                                     7
     Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 14 of 34




discriminate.7 And all protect persons from discrimination by persons, which includes patients and phy-

sicians.8

        Unable to credibly defend their view that state antidiscrimination laws don’t prohibit discrim-

ination by physicians against patients, amici falsely assert that the States did “not even attempt to

explain how” adopting anti-racism plans “is tantamount to a race-based denial of goods and services.”

NAACP-Br.11-12. The Rule makes clear what anti-racism plans are: plans to prioritize certain races

and ethnicities over others. MSJ-Br.6, 13-14. The Rule requires clinicians to “[c]reate and implement

an anti-racism plan using the CMS Disparities Impact Statement or other anti-racism planning tools.”

AR6; Answer (Doc. 59) ¶54. In that Disparities Impact Statement, CMS tells clinicians what it means

by anti-racism planning tools: clinicians should “identify and prioritize which population(s)” physi-

cians “want to address.” AR2248. It further states: “Stratifying measures and health outcomes by race

and ethnicity can help you get started.” Id. Creating an anti-racism plan therefore unambiguously in-

volves a “direct or indirect act or practice of exclusion, distinction, restriction, segregation, limitation,

refusal, denial, or any other act or practice of differentiation or preference in the treatment of a person




        7
         E.g., Mont. Code Ann. §49-2-601 (“A person … who … willfully engages in an unlawful
discriminatory practice prohibited by this chapter … is guilty of a misdemeanor”).
        8
           E.g., La. Stat. Ann. §51:2247 (“it is a discriminatory practice for a person to deny an individual
the full and equal enjoyment of the … services, facilities, privileges, advantages, and accommodations
of a place of public accommodation … as defined in this Chapter, on the grounds of race. …”); Ky.
Rev. Stat. §344.120 (“unlawful practice for a person to deny an individual the full and equal enjoyment
of the … services, facilities, privileges, advantages, and accommodations of a place of public accom-
modation … on the ground of … race”); Ark. Code Ann. §16-123-107(a) (“The right of an otherwise
qualified person to be free from discrimination because of race … is recognized as and declared to be
a civil right”); Mont. Code Ann. §49-2-304(1) (“it is an unlawful discriminatory practice for the owner,
lessee, manager, agent, or employee of a public accommodation … to refuse, withhold from, or deny
to a person any of its services … facilities, advantages, or privileges because of … race”); Mont. Code
Ann. §49-1-102(1) (“The right to be free from discrimination because of race … is recognized as and
declared to be a civil right.”); Mo. Ann. Stat. §213.065 (similar).


                                                     8
    Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 15 of 34




or persons because of race.”9 E.g., La. Stat. Ann. §51:2232(5). And beyond their own incredulity,

NAACP-Br.12, amici have nothing to say about statutes that prohibit completing and using tools like

the ones the Rule requires.10

        Amici argue that the States’ laws “parallel federal protections,” but then implausibly suggest

that anti-racism plans “compor[t] with federal anti-discrimination principles.” NAACP-Br.12. As

amici acknowledge, those federal protections ban facially race-based classifications, id., which is pre-

cisely what anti-racism plans as conceived in the Anti-Racism Rule involve: express prioritizations of

some races and ethnicities over others. AR2247-53. Just last Term, the Supreme Court held that Title

VI prohibits that kind of discrimination in education, even if the discrimination is meant to combat

disparities. SFFA, 143 S. Ct. at 2156 & n.2; id. at 2175-76 (Thomas, J., concurring). Discrimination is

unlawful, whether it’s done in education or in medicine (and especially in medicine).

        D.        The States satisfy the traceability and redressability standing requirements.
        The States have established traceability and redressability too. As explained, “the Anti-Racism

Rule creates … an incentive to the professionals to violate the States’ anti-discrimination laws.” Colville,

2023 WL 2668513, at *17. The States thus must choose “whether to enforce their laws against the

professionals who complete the activity,” id., and whether to exercise discretion in an area over which



        9
           Defendants assert that “[i]n this context, the ‘priority’ population is simply the population
affected by the health disparity.” Def.-Br.20. Amici argue similarly that priority populations are “any
group of people who is at risk of socially produced health inequities.” NAACP-Br.30. But neither
Defendants nor amici can escape the fact that their conception of anti-racism plans is expressly race-
based. They are meant to “be used by all health care stakeholders to achieve health equity for racial and
ethnic minorities” by “identify[ing] … priority populations” and, using that prioritization decision, defin-
ing goals. AR2247-53 (emphases added). And the plans expressly involve “identify[ing] and priori-
tiz[ing] [the] population(s)” clinicians “want to address,” including “by race and ethnicity,” AR2248,
proving that the plans don’t just use the term “priority population” as some kind of term of art. It’s
clear what the plans encourage: “designat[ing] or treat[ing] [races or ethnicities] as more important
than other[s]” and “determin[ing] the order for dealing with [them] according to their relative im-
portance” in clinical practice. Prioritize, New Oxford American Dictionary (3d ed. 2010).
        10
             See, e.g., Mont. Code Ann. §49-2-304(1)(b); Ky. Rev. Stat. Ann. §344.140.


                                                     9
    Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 16 of 34




they traditionally have control, supra 4; see Louisiana, 577 F. Supp. 3d at 492 (holding that a state “statute

conflicts with the Head Start Mandate” and that “there is an obvious link between the Head Start

Mandate” and that injury). It doesn’t matter that “the ultimate violation of the State Plaintiffs’ laws

depends on professionals choosing the activity and carrying it out in a way that violates those laws.”

Colville, 2023 WL 2668513, at *17. The States’ “basis for standing ‘does not rest on mere speculation

about the decisions of third parties’ but ‘instead on the predictable effect of Government action on

the decisions of third parties.’” Id. (quoting Dep’t of Com. v. New York, 139 S. Ct. 2551, 2566 (2019)).

“The predictable effect of Defendants incentivizing professionals to create anti-racism plans by award-

ing them half of their necessary points for the improvement activities category if they do so is that the

professionals will select the activity, and” as has been proven above, “those plans will violate the

States’ laws.” Id.; see also Texas, 809 F.3d at 159-60 (explaining that the traceability requirement is sat-

isfied even if “the independent act of a third party was a necessary condition of the harm’s occurrence,

and it was uncertain whether the third party would take the required step”); id. (“DAPA beneficiaries

have strong incentives to obtain driver’s licenses, and it is hardly speculative that many would do so if

they became eligible”). Patients will predictably be discriminated against, injuring the States quasi-

sovereign interest in protecting them from discrimination. Supra 7-9. “Accordingly, the harm to the

State Plaintiffs’ sovereignty is traceable to the Anti-Racism Rule.” Colville, 2023 WL 2668513, at *17.

        “Turning to redressability, because the State Plaintiffs are entitled to special solicitude, all they

must show is a possibility that the requested relief will reduce the harm.” Id. at *18. “[V]acatur of the

Anti-Racism Rule would remove the incentive provided to professionals to violate the States’ anti-

discrimination laws.” Id.; see Becerra, 623 F. Supp. 3d at 719 (“forbidding HHS from enforcing the

Guidance’s interpretation … ‘would safeguard Texas’s sovereign interests’” because “an injunction

would restore the status quo” and “Texas hospitals and doctors would defer to Texas law”). It would

also end federal “intru[sion] upon areas traditionally within states’ control,” Kentucky, 23 F.4th at 598,



                                                     10
        Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 17 of 34




and the incentive to “discriminat[e] against” citizens, Louisiana, 577 F. Supp. 3d at 492; see id. (“If

Plaintiff States are successful in having the Head Start Mandate declared invalid, this would redress

their injuries.”). Accordingly, the States have established traceability and redressability for their inju-

ries, especially given special solicitude. See Colville, 2023 WL 2668513, at *17.

          E.      Defendants’ arguments about standing fail.
          This Court’s order denying Defendants’ motion to dismiss already adopted the legal conclu-

sions necessary to establish that the States have standing. The two relevant factual questions—whether

the States have antidiscrimination laws that prohibit racial prioritization and whether the Disparities

Impact Statement encourages or requires racial prioritization—are either subject to judicial notice or

supported by undisputed record evidence. Unable to deny those facts, Defendants continue to resist

this Court’s legal conclusions. Each of their four arguments fail. Def.-Br.8-12.

          1. Haaland v. Brackeen, 143 S. Ct. 1609 (2023), does not “displac[e] this Court’s earlier analysis.”

Def.-Br. 1, 9; see also NAACP-Br.18. To reach that conclusion, Defendants incorrectly assert that the

“States’ standing theory in this case, at bottom, is one of parens patriae.” Def.-Br.9. After erecting that

straw man, they knock it down by quoting Brackeen’s conclusion that States do “‘not have standing as

parens patriae to bring an action against the Federal Government.’” 143 S. Ct. at 1640 (quoting Snapp,

458 U.S. at 610 n.16). Yet the States’ theories of standing here aren’t forbidden third-party parens patriae

theories—where “a state asserts in a purely vicarious manner the interests of its citizens.” Kentucky, 23

F.4th at 599. Rather, the States assert a direct injury to their own sovereign and quasi-sovereign inter-

ests.

          “‘Parens patriae’ … really encompasses two distinct concepts.” Id. at 596. “First is the original

parens patriae doctrine, a form of third-party standing that existed at common law.” Id. “Today, states

may not invoke this third-party standing conception of parens patriae to sue the United States on behalf




                                                      11
    Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 18 of 34




of state citizens allegedly harmed by the federal government.” Id. The “second, more modern concep-

tion of parens patriae,” by contrast, “generally is permissible.” Id. Under that conception, “states some-

times purport to sue in a ‘parens patriae’ capacity, yet what they are really doing is asserting some

injury to their own interests separate and apart from their citizens’ interests.” Id. “The distinction be-

tween the two theories becomes most acute when a state sues the United States and its officers. While

a state may so sue when it seeks to vindicate its own sovereign and quasi-sovereign interests against the

United States, it cannot sue when it claims to represent its citizens in a purely third-party parens patriae

capacity.” Id. “So, in other words, when sovereign and quasi-sovereign interests are not on the line, a

state cannot litigate in a third-party capacity as parens patriae against the United States.” Id. at 597.

        The States do not assert standing as parens patriae to pursue the interests of their injured resi-

dents. Instead, the States assert “‘concrete harm’ to their ‘sovereign interest in their laws.’” MSJ-Br.13

(emphasis added) (quoting Colville, 2023 WL 2668513, at *15). Neither did this Court rest its decision

on the States’ standing as parens patriae to sue on behalf of injured residents: “the Anti-Racism Rule,”

it said, “will interfere with the enforcement of … anti-discrimination laws,” “demonstrating a concrete

harm to the States’ sovereign interest in their laws.” Colville, 2023 WL 2668513, at *15 (emphasis added);

see also id. at *14 (States “have sufficiently alleged standing due to their sovereign interest in the en-

forcement of their anti-discrimination law”). And Snapp unambiguously said that States have a sover-

eign interest that involves “the power to create and enforce a legal code, both civil and criminal.” 458

U.S. at 601. When injured, that “sovereign” interest “satisf[ies] standing’s first requirement.” Harrison,

2023 WL 5359049, at *3.

        Brackeen, therefore, has nothing to do with these cross-motions. In that case, Texas brought

“an equal protection challenge to” a federal statute. 143 S. Ct. at 1638 (emphasis added). Because Texas

“has no equal protection rights of its own,” it attempted to “assert equal protection claims on behalf

of its citizens,” a claim that fits comfortably within the third-party standing bar for suits against the



                                                     12
    Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 19 of 34




federal government.11 143 S. Ct. at 1640. The argument that Texas advanced and that the Supreme

Court rejected was “an ‘unclean hands’ injury,” one that stemmed from Texas’s alleged “complicit[y]

in enforcing federal law.” Id. And “the Supreme Court rejected this argument for a specific reason:”

Had it not, “‘a State would always have standing to bring constitutional challenges when it is complicit in

enforcing federal law.’” Missouri v. Biden, 2023 WL 4335270, at *65 (W.D. La. July 4) (emphasis added)

(quoting Brackeen, 143 S. Ct. at 1640); see id. (Texas’s claimed interest “clearly did not qualify as a quasi-

sovereign interest”). By contrast, the States here don’t assert standing to bring any individual-rights-

based “constitutional challenge,” and they don’t assert “that the federal government mandates their

complicity in enforcing” the Anti-Racism Rule. See id. On the contrary, the States have standing to

assert injuries to their own sovereign and quasi-sovereign interests, including their interests in exercising

“‘sovereign power’” against “‘individuals and entities within’” the States because of federal interference

with enforcement of state law. See Harrison, 2023 WL 5359049, at *4. An injury to that sovereign

interest “satisf[ies] standing’s first requirement.” Id. at *3. “[N]one of th[e] sovereign-and-quasi-sov-

ereign-interest theories” the States advance, see supra 7-11, “relies on impermissible notions of third-

party standing in which a state asserts in a purely vicarious manner the interests of its citizens” against

the federal government. See Kentucky, 23 F.4th at 596-99.

        Other Supreme Court decisions support the States’ reading of the bar to third-party parens

patriae standing. The Supreme Court has held that the third-party standing bar to parens patriae suits

against the federal government does not apply with respect to “‘quasi-sovereign rights actually invaded or

threatened.’” Massachusetts, 549 U.S. at 520 n.17. For example, in one case the Supreme Court “h[eld]

that Wyoming had standing to bring a cross-claim against the United States to vindicate its ‘quasi-

sovereign interests which are independent of and behind the titles of its citizens, in all the earth and


        11
           Indeed, the Court rejected Texas’s explicit assertion of “third-party standing” as “a thinly
veiled attempt to circumvent the limits on parens patriae standing.” Brackeen, 143 S. Ct. at 1640 n.11.


                                                     13
    Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 20 of 34




air within its domain.’” Id. (cleaned up) (quoting Nebraska v. Wyoming, 515 U.S. 1, 20 (1995)). This

Court would “clearly er[r]” if it were to say, as Defendants counsel, that the Supreme Court “had

‘implicitly overruled’” those other decisions. Mallory v. Norfolk S. Ry. Co., 143 S. Ct. 2028, 2038 (2023).

        2. Defendants incorrectly argue that “Plaintiffs rest on the allegations in their Amended Com-

plaint.” Def.-Br.10. In the amended complaint, “Plaintiffs … asserted that a means by which anti-

racism seeks to prevent and address racism is to actually make decisions based on race so long as it

‘promotes equity.’” Colville, 2023 WL 2668513, at *16. “In light of Plaintiffs’ allegations and the ab-

sence of any record evidence that the Anti-Racism Rule rejects the race-based decisionmaking that is

alleged to be promoted by the Rule,” this Court rejected Defendants’ argument that “the injury to the

States’ enforcement of their laws” isn’t concrete. Id.

        At this stage, the Court needn’t “conside[r] only the allegations in the Amended Complaint,”

contra Def.-Br.10, to find that there is no genuine dispute that “anti-racism seeks to prevent and address

racism [by] mak[ing] decisions based on race,” Colville, 2023 WL 2668513, at *16. As the States argued,

the Disparities Impact Statement proves that anti-racism plans involve prioritizing certain races over

others. MSJ-Br.13-14. That document is expressly cited in the Rule and is judicially noticeable. It’s also

part of the record, AR2247-53,12 and Defendants admit that CMS developed it, Answer ¶54.13 De-

fendants also admit that “clinicians and groups have attested to completing the activity to create and

implement anti-racism plan.” Answer ¶51. And Defendants don’t dispute that prioritizing races con-




        12
             Facts in the administrative record can establish standing. See, e.g., Compassionate Care Hospice
v. Sebelius, 2010 WL 2326216, at *3 (W.D. Okla. June 7).
          13
             Admissions in an answer establish that there is no genuine dispute as to the fact to which
the defendant admitted. See, e.g., Martinez v. Bally’s La., Inc., 244 F.3d 474, 476 (5th Cir. 2001) (“A
judicial admission is a formal concession in the pleadings by a party or counsel that is binding on the
party making them.”); Devs. Sur. & Indem. Co. v. Driftwood Dev., LP, 2008 WL 4838606, at *2 n.6 (W.D.
Tex. Nov. 5) (“Defendants’ admissions in their Answer are legally determinative admissions of fact
and serve as proper summary judgment evidence to demonstrate that there is no genuine issue of
fact.”).

                                                     14
    Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 21 of 34




flicts with state law. See MSJ-Br.14 & n.2. Given this Court’s prior legal analysis, Defendants them-

selves supplied the “‘specific facts,’” Def.-Br.10, needed to show that the Anti-Racism Rule “encour-

ages professionals to alter their clinical guidelines in a way that would violate [the States’] laws,” Colville,

2023 WL 2668513, at *17. And special solicitude “allows for the risk of future harm to satisfy standing

… and therefore alleviates immediacy concerns.” Id., at *16.

        3. This Court expressly rejected Defendants’ argument that the States’ injuries are not “trace-

able to the improvement activity or redressable by the Court.” Def.-Br.10-11. Just like the motion-to-

dismiss stage, Defendants make the wholly legal argument that a plaintiff cannot establish those ele-

ments “where plaintiff’s allegations rely on the independent and speculative actions of third parties

not before the Court”—“namely, clinicians.” Id. As this Court explained, “the basis for standing ‘does

not rest on mere speculation about the decisions of third parties’ but ‘instead on the predictable effect

of Government action on the decisions of third parties.’” Colville, 2023 WL 2668513, at *17 (quoting

Dep’t of Com., 139 S. Ct. at 2566). This Court rightly held that “[t]he predictable effect of Defendants

incentivizing professionals to create anti-racism plans by awarding them half of their necessary points

for the improvement activities category if they do so is that the professionals will select the activity.”

Id. Again, the Court needn’t rely on mere allegations. Consistent with what was always predictable,

Defendants admitted that their Rule causes clinicians to adopt anti-racism plans, Answer ¶51, and, as

part of those plans, Defendants direct clinicians to prioritize populations based on race, MSJ-Br.13-14

& n.2. Beyond the judicially noticeable state laws themselves, nothing more is needed to show that

the Rule causes the States’ injuries.

        4. Defendants’ attack on this Court’s holding that the States are entitled to special solicitude

is unavailing. See Colville, 2023 WL 2668513, at *14. Defendants observe that “three Justices suggest[ed]

lower courts should” no longer grant States special solicitude, and they quote a dissenting opinion

stating that Massachusetts had been “‘quietly interred.’” Def.-Br.11 (quoting United States v. Texas, 143



                                                      15
      Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 22 of 34




S. Ct. 1964, 1997 (2023) (Alito, J., dissenting)) (citing id. at 1977 (Gorsuch, J, concurring in judgment)).

But “the majority opinion in Texas does not mention special solicitude”—let alone purport to cast

aside that principle. Missouri, 2023 WL 4335270, at *64. As explained above, this Court would “clearly

er[r]” if it were to say, as Defendants counsel, that the Supreme Court “had ‘implicitly overruled’”

Massachusetts. Mallory, 143 S. Ct. at 2038. When a “lower court thinks [a] precedent is in tension with

‘some other line of decisions,’” the Supreme Court’s instructions couldn’t be clearer: “‘follow the case

which directly controls,’” and let the Court “‘overrul[e] its own decisions.’” Id.

        Unable to dispute that Massachusetts and its progeny mean that the States enjoy special solici-

tude, see Colville, 2023 WL 2668513, at *14-15, Defendants cursorily assert that the States haven’t “pro-

vided sufficient evidence of a quasi-sovereign injury” or “a procedural right,” both of which are re-

quired for special solicitude. Def.-Br.12. Regarding the latter, that tack represents an about-face. De-

fendants had previously conceded that the procedural-right “requirement is met by virtue of the Ad-

ministrative Procedure Act.” Def. MTD Reply (Doc. 47) 6; see Colville, 2023 WL 2668513, at *14 n.17

(“Defendants agree that the State Plaintiffs have satisfied this first requirement.”). And regarding the

former, this Court correctly observed that the States “possess a sovereign interest in ‘the exercise of

sovereign power over individuals and entities within the relevant jurisdiction,’ which ‘involves the

power to create and enforce a legal code.’” Colville, 2023 WL 2668513, at *15. That’s precisely the kind

of interest that’s harmed by “‘federal interference with the enforcement of state law’”—here, by en-

couraging residents to prioritize patients based on race. Id.

II.     Plaintiffs are entitled to summary judgment on the merits.
        A.      The judicial review bar does not stop this Court from reaching the merits.
        Defendants concede that this “Court has already held that, in the context of this case, it has

jurisdiction to review whether a promulgated activity falls within the statutory decision of a ‘clinical

practice improvement activity,’ notwithstanding … 42 U.S.C. §1395w-4(q)(13)(B)(iii).” Def.-Br.12.

Defendants therefore “accept for the purposes of this motion the Court’s prior conclusion that it has


                                                    16
    Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 23 of 34




jurisdiction to determine whether the review bar applies and thus to address the merits of Plaintiffs’

ultra vires claim, if it determines Plaintiffs have standing.” Id. The States have nothing to add, except

to note that this Court’s prior conclusion was correct. See Apter v. HHS, 2023 WL 5664191, at *4-6

(5th Cir.) (plaintiffs can use the APA to assert ultra vires claim and overcome sovereign immunity).

        B.      Judicial review is limited to the administrative record.
        Under the APA, when a court decides “questions of law,” “interprets constitutional and stat-

utory provisions,” and determines “the meaning and applicability of the terms of an agency action,”

it “shall review the whole record or those parts of it cited by a party.” 5 U.S.C. §706. It is a “founda-

tional principle of administrative law that a court may uphold agency action only on the grounds that

the agency invoked when it took the action.” Michigan v. EPA, 576 U.S. 743, 758 (2015) (citing SEC

v. Chenery Corp., 318 U.S. 80, 87 (1943)). That rule also applies “to review for compliance with statutes.”

Texas, 20 F.4th at 965 (citing 5 U.S.C. §706(2)(C)).

        Defendants incorrectly argue that this Court can consider “evidence outside of the record.”

Def.-Br.21-22. To reach that conclusion, Defendants assert that the States assert a claim that does

“not arise within the APA context.” Id. at 22. But the States’ claim expressly arises under the APA.

Am. Compl. ¶58 (quoting 5 U.S.C. §706(2)(A), (C)); id. ¶20 (“Defendants’ final rule constitutes a final

agency action that is judicially reviewable under the APA.” (citing 5 U.S.C.§704; §706)). And the States

seek a declaration “that the Anti-Racism Rule violates the Medicare Access Act,” id. at 18, because it

is “‘not in accordance with law’ or ‘in excess of statutory jurisdiction, authority, or limitations’” under

the APA. Id. ¶58 (quoting 5 U.S.C. §706(2)(A), (C)); see also Colville, 2023 WL 2668513, at *7 (Plaintiffs’

“Complaint” challenges “the Anti-Racism Rule under the Administrative Procedure Act”), id. at *14

(States have asserted “a procedural right under the APA”).

        The decisions that Defendants cite aren’t to the contrary. Def.-Br.22. At most, they say that

extra-record evidence can sometimes be considered for claims that involve a “stand-alone” “ultra vires



                                                    17
    Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 24 of 34




claim.” Texas v. DHS, 2023 WL 2842760, at *3 (S.D. Tex. Apr. 7); see also Texas v. Biden, 2021 WL

4552547, at *5-6 (N.D. Tex. July 19). By contrast, the States argue both that anti-racism plans are not

clinical performance improvement activities under the statute, Am. Compl. ¶¶61-63, and, “[i]ndepend-

ent[ly],” that the judicial review bar doesn’t apply because the “agency action … exceed[ed] the

agency’s authority,” id. ¶¶59-60. Only if this Court had found that the judicial review bar precluded it

from reviewing whether anti-racism plans are “clinical practice improvement activities” would the ultra

vires exception to review preclusion be relevant. If anti-racism plans aren’t clinical practice improve-

ment activities in the first place, then the judicial review bar doesn’t apply and, for the same reason,

the Anti-Racism Rule is reviewable as “not in accordance with the law” under the APA. 5 U.S.C. §706.

Because this Court held that it “has jurisdiction to review whether the Anti-Racism Rule satisfies the

definition of a ‘clinical practice improvement activity,’” the States needn’t rely on the ultra vires excep-

tion to review preclusion. Their claim is an APA claim. See Colville, 2023 WL 2668513, at *7, *14.

Accordingly, review of whether anti-racism plans are within the statutory definition is limited to the

“agency record.” Baker v. Bell, 630 F.2d 1046, 1051 (5th Cir. 1980).

        C.      Anti-racism plans are not one of the clinical practice improvement activities
                specified in the statute.
        The “Secretary lacks authority to ‘identif[y]’ an activity as” a clinical practice improvement

activity “when the activity does not satisfy the very definition of such activities” in the statute. Colville,

2023 WL 2668513, at *19. The statute, in turn, declares that “the term ‘clinical practice improvement

activity’ means an activity that relevant eligible professional organizations and other relevant stake-

holders identify as improving clinical practice or care delivery and that the Secretary determines, when

effectively executed, is likely to result in improved outcomes.” 42 U.S.C. §1395w-4(q)(2)(C)(v)(III).

This Court must therefore determine whether anti-racism plans as conceived of in the Rule are clinical

practice improvement activities within the meaning of the statute. As Defendants assert, “anti-racism”

can mean different things to different people. See Def.-Br.19 (“there are many other definitions of


                                                     18
    Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 25 of 34




anti-racism”). What matters is the kind of plans that the Rule requires—namely, plans that have clini-

cians prioritize patients based on socially construed race or ethnicity, not based on physiology. See

supra 14-15; 86 Fed. Reg. at 65969. Accordingly, this Court must determine whether “relevant eligible

professional organizations and other relevant stakeholders identif[ied]” the prioritization of patients

based on race or ethnicity “as improving clinical practice or care delivery.”14 42 U.S.C. §1395w-

4(q)(2)(C)(v)(III). And it must determine whether racial prioritization relates to “clinical practice or

care delivery” in light of the specific examples enumerated in the statute. §1395w-4(q)(2)(B)(iii); Col-

ville, 2023 WL 2668513, at *20. Four independent reasons support the States’ view that anti-racism

plans aren’t clinical practice improvement activities. See also MSJ-Br. 9-10.

        1. Anti-racism plans don’t reasonably relate to “the examples of clinical practice improvement

activities set forth at §1395w-4(q)(2)(B)(iii).” Colville, 2023 WL 2668513, at *20. Those examples—

same-day appointments, “monitoring health conditions,” “timely communication of test results,” and

the like—have one thing in common, 42 U.S.C. §1395w-4(q)(2)(B)(iii): improving care for patients

generally, not a subset of them. If a relevant organization had said that more pay for physicians im-

proves physicians’ performance, and an agency had then incentivized plans that quadruple the cost of

care for patients, no one thinks that proposed activity is contemplated by the Rule—whatever the

organization said. MSJ-Br. 9-10. Just so for anti-racism plans: The fact that the specific examples




        14
          Even if this Court considers “extra-record evidence that racism within the medical system
contributes to health disparities between races,” Def.-Br.22-23, that evidence would have to support
the proposition that prioritizing patients based on race or ethnicity, not physiology, improves clinical
practice or care delivery, as informed by the examples given in the statute. Evidence that attending
anti-racism training improves medical practice doesn’t do that. E.g., id. at 22.


                                                   19
    Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 26 of 34




enumerated don’t look anything like prioritizing patients of one race over patients of another, all di-

vorced from physiology, shows that anti-racism plans aren’t the kinds of activities that relevant organ-

izations can identify as improving “clinical practice or care delivery” within the meaning of the statute.15

        2. Relatedly, relevant organizations didn’t identify, before Defendants’ acted, race-prioritiza-

tion plans as improving clinical practice improvement activities within the meaning of the statute.

“With statutes, ‘[c]ontext is the primary determinant of meaning.’” Cargill v. Garland, 57 F.4th 447, 461

(5th Cir. 2023) (en banc) (quoting Scalia & Garner, Reading Law 167 (2012)). Considering context, the

statute unambiguously requires that Defendants considered whether relevant stakeholders identified

plans that prioritize patients by race or ethnicity before Defendants acted. The text of the relevant provision

makes this clear: The Secretary is supposed to act based on what professionals think, and he can’t do

that if he acts before they “identify” racial prioritization as “improving clinical practice or care deliv-

ery.” 42 U.S.C. §1395w-4(q)(2)(C)(v)(III). Post-hoc general support for an activity that Defendants

identified won’t cut it. That’s why “[i]n initially applying” the statute, “the Secretary shall use a request

for information to solicit recommendations from stakeholders.” §1395w-4(q)(2)(C)(v)(I). Accordingly,

and as explained above, “‘clinical practice or care delivery’ must be construed in light of the examples

of clinical practice improvement activities.” Colville, 2023 WL 2668513, at *20. Reading the statute

correctly, an activity isn’t a clinical practice improvement activity unless relevant third parties first iden-

tify activities like “expanded practice access,” “care coordination,” etc., and specify the criteria for



        15
           Defendants argue that any activity is a clinical practice improvement activity if relevant or-
ganizations say it’s a good thing and the Secretary agrees, Def.-Br.15-16, but that defies a “common
sense” reading of the statute read in context. See Biden, 143 S. Ct. at 2379 (Barrett, J., concurring).
Congress did not (and could not) wholly outsource these important decisions to private organizations.
Organizations can use words in senses that are clearly different from those used in the statute. If an
organization identifies an activity that bears a remote relationship to the kinds of activities with which
the statute is expressly concerned, that’s relevant evidence that the organization is using “clinical prac-
tice or care delivery” in a different sense. For example, Defendants’ citation of evidence that racism
adversely affects health, Def.-Br.16-17, doesn’t show that racial-prioritization plans relate to clinical prac-
tice or care delivery.

                                                      20
    Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 27 of 34




them. See §1395w-4(q)(2)(B)(iii), (C)(v)(I), (III). Given the unambiguous meaning of the statute, the

question is whether the relevant third parties identified and specified criteria for plans to prioritize

patients based on race or ethnicity, not physiology, as within the categories the statute enumerates.

        As at the motion-to-dismiss stage, Defendants have failed to make that showing. It’s no mys-

tery which authorities16 the Secretary relied on, since Defendants identified those authorities in the

Rule itself, 86 Fed. Reg. at 65,969, 65,977, and elsewhere, AR2275 (listing three sources under “Evi-

dence/Resources”). This Court was rightly unmoved by the sources “that the Anti-Racism Rule cites.”

Colville, 2023 WL 2668513, at *20. The sources apparently considered before proposing the Rule de-

scribed “anti-racism approaches,” Def.-Br.15, without identifying Defendants’ approach—plans that

prioritize patients based on race, not physiology.17

        Even if Defendants’ new authorities had been considered before Defendants identified and

proposed race-based plans, they wouldn’t satisfy the statute’s requirements. See Def.-Br.15 & n.5.

Those sources announced their general support for combating racism and discrimination and promot-

ing health equity after Defendants identified the activity, but the commenters didn’t say that prioritizing


        16
          Defendants again “do not address whether or how [their sources] count as ‘relevant eligible
professional organizations and other relevant stakeholders.” Colville, 2023 WL 2668513, at *20. The
statute defines “‘eligible professional organization’” to “mea[n] a professional organization as defined
by nationally recognized specialty boards of certification or equivalent certification boards.” 42 U.S.C.
§1395w-4(q)(2)(D)(ii)(II). The relevant stakeholders are therefore organizations of that type. See, e.g.,
§1395w-4(q)(2)(D)(viii) (“other relevant stakeholders” “includ[es] State and national medical socie-
ties”). The three sources the Secretary apparently considered are papers by individuals, not profes-
sional organizations. AR2282 (Camara Phyllis Jones); AR2286 (Darshali A. Vyas, et al.); AR2295 (J.
Nwando Olayiwola, et al.).
        17
          E.g., AR2295-99 (opposing racism and endorsing an “Anti-Racism Plan” that “consists of
four key pillars”: elevate the cause (“work to raise awareness within and outside of our institution,
focusing on educational and curricular reform, community engagement, and strategy”), engage stake-
holders (“engage employees, faculty, staff, students, and other learners and stakeholders in tactical
solutions and activities to confront and mitigate racism”), equip communities, employees, and learners
(“investing in scholarships, funding, training, toolkits, people, positions, and pathways that support
anti-racism initiatives”), and empower those who are marginalized or oppressed (“anti-racist culture
that encourages individuals to speak out against racism, invests in the voices of the unheard, and leads
comprehensive evaluation efforts to demonstrate impact”)).


                                                    21
    Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 28 of 34




patients based on race, not physiology, satisfies any of the subcategories in the statute (or ones like

them).18 Def.-Br.15 & n.5. Organizations can support anti-racism plans for many reasons, including

ideological ones that have little to do with the reason the statute requires: improving clinical practice

or care delivery in the ways the statute describes. Defendants’ argument that racism has adverse health

effects doesn’t show that prioritizing patients based on race, not physiology, was ever identified as the

answer by the relevant organizations. Def.-Br. 16-17 & n.7.

        3. Requiring the activities that stakeholders identify to “be construed in light of the examples

of clinical improvement activities set forth” in the statute avoids constitutional concerns. Colville, 2023

WL 2668513, at *20. Even if a statute is “ambiguous,” courts should “construe [it] against” “what the

Government says [it] mean[s]” if “to do otherwise would raise grave constitutional concerns.” Mexican

Gulf Fishing Co. v. U.S. Dep’t of Com., 60 F.4th 956, 966-67 (5th Cir. 2023). If the statute means that any

        18
           AR215-16 (International Accreditation Commission asserting that this is an “opportunity to
recognize clinicians for developing and implementing processes to reduce racism and discrimination
to ensure equitable health care” without saying that prioritizing patients based on race improves clin-
ical practice or care delivery within the meaning of the statute); AR210 (American Academy of Der-
matology Association, similar, “important objectives”); C-TAC Comments, at 4, https://down-
loads.regulations.gov/CMS-2021-0119-32235/attachment_1.pdf (Coalition to Transform Advanced
Care, similar, announcing support for “[h]ealth equity” and its “feel[ing]” that “activities about health
equity” “will help to address inequity in the health care system”); AR46 (American College of Radiol-
ogy announcing support for “anti-racism plans” without any additional details); AR146 (Association
of American Medical Colleges endorsing the view that anti-racism plans “address systemic racism as
a root cause of inequity” without saying that the ones contemplated by the Rule improve clinical
practice or care delivery in the ways that the statute contemplates); AR191 (American Society of Ra-
diation Oncology saying broadly that it “supports the addition of the proposed improvement activi-
ties” without additional details); AR233 (MarsdenAdvisors saying broadly that it “applaud[s] CMS’s
proposal to include this IA in the inventory in 2022” without additional details).
         Amici cite authorities in the administrative record, NAACP-Br.24, but those authorities also
include only general statements of support. Supp.AR2421 (Association of Black Cardiologists, Inc.,
“agree[ing]” that “systematic racism is the root cause for differences in health outcomes between so-
cially defined racial groups”); Supp.AR2431 (Society of General Internal Medicine announcing that it
“appreciates the new and modified MIPS improvement activities”). Amici’s argument that some au-
thorities recognized “race and racism as a nonmedical determinant of health, and conclude[d] that a
commitment to anti-racism is a prerequisite to improving health outcomes overall,” NAACP-Br.25,
misses the point. Defendants needed to identify relevant organizations and stakeholders who said anti-
racism plans as conceived in the Rule improve clinical practice or care delivery; merely stating a general
and vague commitment to “anti-racism” because of adverse health effects of racism isn’t enough.

                                                    22
    Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 29 of 34




activity can be a clinical practice improvement activity—however unrelated to the enumerated exam-

ples—if a stakeholder says they’re a good thing, see Def.-Br.15-16, then any number of illegal and even

unconstitutional rules could be promulgated. If a stakeholder had said expressly that turning white

patients away improves clinical practice and care delivery because it would reduce disparities, on De-

fendants’ view, they could incentivize exactly that.

        The Anti-Racism Rule likewise involves an express racial classification—clinicians should pri-

oritize patients based on race or ethnicity. See supra 14-15. Race-based classifications are unconstitu-

tional if they can’t survive strict scrutiny. SFFA, 143 S. Ct. at 2161-63. And the Supreme Court has

made clear that they don’t, even if the goal is to reduce disparities. See id. at 2172. They also can’t be

used as a negative. See id. at 2168-69. Accordingly, this Court should hold what the statute already

unambiguously says, see supra 18-21: a clinical practice improvement activity is one that reasonably

“improves clinical practice or care delivery” in light of the subcategories enumerated, and that relevant

organizations first identified it as such. MSJ-Br.9.

        4. Even if Defendants’ reading has “a colorable textual basis,” this Court should reject it under

the major questions doctrine. See West Virginia, 142 S. Ct. at 2609; Texas v. Becerra, 575 F. Supp. 3d 701,

714 (N.D. Tex. 2021). Defendants took the remarkable step of injecting antiracist ideology into med-

icine, going so far as to encourage clinicians to prioritize patients based on race or ethnicity. Explained

above, that approach involves an “intrusion into state police powers.” Texas, 575 F. Supp. 3d at 716-

17 (holding that a “CMS [Rule] implicates ‘vast economic and political consequences’” where rule

“appl[ies] to myriad employees and already understaffed employers”). The injection of race into med-

icine is precisely the kind of application that Congress would have reserved for itself. See Nebraska,

143 S. Ct. at 2375. Given the specific enumeration of the kinds of activities implicated in the statute

that have no relationship to antiracist ideology, Defendants require clear congressional authorization

“to justify the challenged program.” Id. Yet the statute “provides no authorization for the Secretary’s



                                                       23
    Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 30 of 34




plan even when examined using ordinary tools of statutory interpretation—let alone ‘clear congres-

sional authorization’ for such a program.” See id.

        Defendants betray the weakness of their position by invoking Chevron deference. Def.-Br.13-

14. But “before” this Court considers Chevron’s applicability, it must “determine the statute’s meaning

using traditional statutory-interpretation tools … ‘the old-fashioned way.’” Cargill, 57 F.4th at 458. “If

the statute is unambiguous, it does not matter whether Chevron applies.” Id.; see id. at 464-65 (if “the

statute is unambiguous, Chevron deference does not apply even if the Chevron framework does”). Each

of the above arguments shows why this Court should not defer to Defendants’ reading of the statute.19

See supra 19-24.

                                                 *
        The kinds of anti-racism plans described by the Anti-Racism Rule are not “clinical practice

improvement activities.” For that reason, the statutory bar to judicial review doesn’t apply. Colville,

2023 WL 2668513, at *19-20. And for the same reason, the Secretary “lacks authority” to promulgate

the Anti-Racism Rule. Id. at *19. Accordingly, the Rule exceeds Defendants’ authority and is unlawful.

See MSJ-Br.10-13.

        D.         The States weren’t obliged to raise their objections during the notice-and-
                   comment period.
        Defendants argue that this “Court should decline to review Plaintiffs’ claim” because “Plain-

tiffs have waived any challenge that CMS’s actions are ultra vires,” Def.-Br.23, but admit that this

“argument is foreclosed by [Fifth Circuit] precedent,” Sw. Elec. Power Co. v. U.S. Env’t Prot. Agency, 920

F.3d 999, 1022 n.23 (5th Cir. 2019). Because “the question presented” here is “a purely legal one,




        19
           Chevron should be overruled. That doctrine “wrests from Courts the ultimate interpretive
authority to ‘say what the law is,’” a “transfer” that “is in tension with Article III’s Vesting Clause.”
Michigan, 576 U.S. at 762 (Thomas, J., concurring). The Supreme Court recently granted certiorari on
whether it should overrule Chevron. Loper Bright Enters. v. Raimondo, 143 S. Ct. 2429 (2023).

                                                     24
    Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 31 of 34




requiring [the] court’s evaluation of whether [Defendants] complied with the statute,” the waiver doc-

trine doesn’t apply. BCCA Appeal Grp. v. EPA, 355 F.3d 817, 829 n.10 (5th Cir. 2003). And, in any

event, “the waiver rule does not apply to preclude argument where,” as here, “the scope of the agency’s

power to act is concerned.” Sierra Club v. Pruitt, 293 F. Supp. 3d 1050, 1061 (N.D. Cal. 2018). The rule

urged by Defendants “‘would require everyone who wishes to protect himself from arbitrary agency

action not only to become a faithful reader of the notices of proposed rulemaking published each day

in the Federal Register, but a psychic able to predict the possible changes that could be made in the

proposal when the rule is finally promulgated.’” Am. Forest & Paper Ass’n v. EPA, 137 F.3d 291, 295

(5th Cir. 1998). Defendants haven’t identified “any provision in the” governing statutes supporting

such a requirement, and a court cannot write one into it. See id.

        E.      Vacatur of the Anti-Racism Rule is the appropriate remedy.
        This Court should vacate the Anti-Racism Rule. Contra Def.-Br.24-25. “The APA gives courts

the power to ‘hold unlawful and set aside agency action[s].’” Data Mktg., 45 F.4th at 859 (quoting 5

U.S.C. §706(2)); see Franciscan All., Inc. v. Becerra, 47 F.4th 368, 274-75 (5th Cir. 2022) (“Vacatur is the

only statutorily prescribed remedy for a successful APA challenge to a regulation.” (citing 5 U.S.C.

§706(2)(A)). “The default rule is that vacatur is the appropriate remedy,” meaning courts “‘formally

nullify and revoke … an unlawful agency action.’” Data Mktg., 45 F.4th at 859; see also United Steel v.

Mine Safety & Health Admin, 925 F.3d 1279, 1287 (D.C. Cir. 2019) (If a rule is “ultra vires and unen-

forceable,” the “ordinary practice is to vacate unlawful agency action.”).

        This Court should not remand without vacatur. “Remand without vacatur of the agency action

is ‘generally appropriate when there is at least a serious possibility that the agency will be able to

substantiate its decision given an opportunity to do so.’” Texas, 20 F.4th at 1000. The exception for

disruptive consequences of vacatur is conjunctive, requiring the agency to prove both disruptive conse-

quences “and” that it could make the rule lawful on remand. Cent. & S. W. Servs., Inc. v. EPA, 220



                                                    25
    Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 32 of 34




F.3d 683, 692 (5th Cir. 2000). Defendants “ma[de] no developed argument that” they will be able to

get it right on remand, “so [Defendants] forfeited the argument.” Data Mktg., 45 F.4th at 860; see Def.-

Br.24-25 (arguing that vacatur would be disruptive, not that they could make the Anti-Racism Rule

lawful after a ruling that it’s outside of agency authority). That argument would have been unavailing,

even if it were preserved. If this Court holds that the “Secretary lacks authority to ‘identif[y]’” anti-

racism plans as clinical practice improvement activities, Colville, 2023 WL 2668513, at *19, then that

ruling means case closed; there’s nothing the agency can do on remand to fix the Anti-Racism Rule.

The default rule of vacatur applies. See Data Mktg., 45 F.4th at 860.

        Defendants’ final argument that “any injunctive relief should be limited to the states that are

parties to this lawsuit and that have pertinent antidiscrimination laws” finds no support in binding

precedent on the appropriateness of vacatur in this context. Def.-Br.25. For example, Defendants rely

on a concurrence. Texas, 143 S. Ct. at 1985 (Gorsuch, J., concurring) (doubting that courts have “eq-

uitable power to vacate agency action (in § 706)” and arguing that district courts should “‘think twice

… before granting’” vacatur). But binding circuit precedent provides otherwise. Texas, 20 F.4th at

1000-01 (“[B]y default, remand with vacatur is the appropriate remedy.”); Data Mktg., 45 F.4th at 859

(“Under prevailing precedent, §706 extends beyond the mere non-enforcement remedies available to

courts that review the constitutionality of legislation, as it empowers courts to ‘set aside’—i.e., formally

nullify and revoke—an unlawful agency action.” (cleaned up)). Vacatur is the “default rule” in this

circuit until that precedent is overruled. Data Mktg., 45 F.4th at 859. Under §706, “‘the ordinary result

is that the rules are vacated—not that their application to the individual petitioners is proscribed.’”

Franciscan All., Inc. v. Azar, 414 F. Supp. 3d 928, 944 (N.D. Tex. 2019). Because the Anti-Racism Rule

“‘conflict[s]’” with the statute, “the appropriate remedy is vacatur.” See id.

                                            CONCLUSION
        This Court should grant the States summary judgment and vacate the Anti-Racism Rule.



                                                    26
   Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 33 of 34



Dated: September 5, 2023                 Respectfully submitted,

s/ Scott G. Stewart                      s/ Cameron T. Norris
LYNN FITCH                               Cameron T. Norris*
  Attorney General                       CONSOVOY MCCARTHY PLLC
Scott G. Stewart (MS Bar No. 106359)     1600 Wilson Blvd., Ste. 700
  Solicitor General                      Arlington, VA 22209
Justin L. Matheny (MS Bar No. 100754)    (703) 243-9423
  Deputy Solicitor General               cam@consovoymccarthy.com
MISSISSIPPI ATTORNEY
GENERAL’S OFFICE
P.O. Box 220
Jackson, MS 39205-0220
(601) 359-3680
scott.stewart@ago.ms.gov
justin.matheny@ago.ms.gov


s/ Edmund G. LaCour Jr.                  s/ Nicholas J. Bronni
STEVE MARSHALL                           LESLIE RUTLEDGE
  Attorney General                         Attorney General
Edmund G. LaCour Jr.*                    Nicholas J. Bronni*
  Solicitor General                        Solicitor General
OFFICE OF THE ALABAMA                    OFFICE OF THE ARKANSAS
ATTORNEY GENERAL                         ATTORNEY GENERAL
501 Washington Ave.                      323 Center Street, Suite 200
Montgomery, AL 36130                     Little Rock, AR 72201
(334) 353-2196                           (501) 682-6302
Edmund.LaCour@AlabamaAG.gov              nicholas.bronni@arkansasag.gov




                                        27
    Case 1:22-cv-00113-HSO-RPM Document 108 Filed 09/05/23 Page 34 of 34



 s/ Aaron J. Silletto                               s/ Scott St. John
 DANIEL CAMERON                                     JEFF LANDRY
   Attorney General                                   Attorney General
 Aaron J. Silletto*                                 Elizabeth B. Murrill*
   Assistant Attorney General                         Solicitor General
 KENTUCKY OFFICE OF THE                             Scott St. John (MS Bar No. 102876)
 ATTORNEY GENERAL                                     Deputy Solicitor General
 700 Capital Avenue, Suite 118                      LOUISIANA DEPARTMENT OF JUSTICE
 Frankfort, Kentucky                                1885 N. Third Street
 (502) 696-5439                                     Baton Rouge, Louisiana 70804
 Aaron.Silletto@ky.gov                              (225) 326-6766
                                                    murrille@ag.louisiana.gov


 s/ Joshua M. Divine                                s/ Christian Corrigan
 ANDREW BAILEY                                      AUSTIN KNUDSEN
   Attorney General                                   Attorney General
 Joshua M. Divine***                                Christian Corrigan***
   Solicitor General                                  Solicitor General
 Samuel C. Freedlund                                MONTANA DEPARTMENT OF JUSTICE
 OFFICE OF THE MISSOURI                             215 North Sanders Street
 ATTORNEY GENERAL                                   Helena, MT 59601
 815 Olive Street                                   christian.corrigan@mt.gov
 Suite 200
 St. Louis, MO 63101
 (314) 340-4869
 Josh.Divine@ago.mo.gov
 Samuel.Freedlund@ago.mo.gov


*pro hac vice
**pro hac vice pending
***pro hac vice forthcoming


                                 CERTIFICATE OF SERVICE
       I e-filed this brief with the Court, which will email everyone requiring service.

Dated: September 5, 2023                               s/ Cameron T. Norris




                                                  28
